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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * ** *
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  JAMES AND WILBERTA CAIRNS,          *
                  Plaintiffs,         *
                                      *
           v.                           Nos. 04-1463L; 04-14630L
                                      *
                                        Filed: June 29, 2018
                                      *
  UNITED STATES,                      *
                  Defendant.          *
                                      *
   * * * * * * * * * * * * * * * * ** *
                                  ORDER

        The court is in receipt of the stipulation to voluntarily dismiss the claims of the
above captioned plaintiffs in the case of Raymond Spencer, et al. v. United States, Case
No. 04-1463L. The claims associated with the above-captioned plaintiff, are, hereby,
SEVERED from the case of Raymond Spencer, et al. v. United States, Case No. 04-
1463L and shall be reorganized, for case management purposes, into the above-
captioned case, James and Wilberta Cairns v. United States, and assigned Case No. 04-
14630L. The court DISMISSES, with prejudice, the claims of the James and Wilberta
Cairns. The Clerk’s Office shall enter JUDGMENT consistent with this Order, pursuant to
Rule 41 of the Rules of the United States Court of Federal Claims. As the Order disposes
of all properties of the named plaintiffs, Case No. 04-14630L shall be CLOSED. Neither
the dismissal of the claims of the plaintiffs herein nor the entry of judgment by the Clerk’s
Office shall affect this court’s jurisdiction over the remaining plaintiffs in the case of
Raymond Spencer, et al. v. United States, Case No. 04-1463L.

       IT IS SO ORDERED.
                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
